               UNITED STATES BANKRUPTCY COURT
                EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                              Case No. 23-43403-mlo
                                                  Chapter 11
          Debtor.                                 Hon. Maria L. Oxholm
____________________________________/

    EX PARTE MOTION FOR COURT TO HOLD STATUS
 CONFERENCE ON AUGUST 31, 2023, TO CONSIDER, AMONG
 OTHER THINGS, WHETHER TO ADJOURN SALE RELATED
          MATTERS TO SEPTEMBER 14, 2023


     Ark Laboratory, LLC (“Debtor”) states:

        1. Debtor, the Office of the United States Trustee (“U.S.

Trustee”), Auxo Investment Partners, LLC (“Auxo”), McLaren Medical

Laboratory (“McLaren”) and the Official Unsecured Creditors

Committee (“Committee”) all support the requested relief.

        2. Since the filing of the Sale Motion [ECF No. 145], the

Assumption Motion [ECF No. 153], and the Rejection Motion [ECF No.

154], Debtor’s counsel has become aware of a potentially significant

asset, the “Claims” (as defined in the recently filed amended Schedule




23-43403-mlo   Doc 207   Filed 08/29/23   Entered 08/29/23 10:23:02   Page 1 of 10
A-B [ECF No. 206]) that appear to have at least $4.0 million in value to

the bankruptcy estate. As indicated on Amended Schedule A/B, “The

Claims are valued at no less than $4.0 million to the bankruptcy estate

(exclusive of contingent fees owed to special counsel to be retained by

the Debtor, in the amount of 30% of the amount recovered). The face

amount of the Claims may be over $40 million, However, that amount

does not take into account collectability, nor the contingent fee that will

be owed to special counsel.”(the “Potential Recoveries”).

          3. The Claims relate to Covid tests done by Debtor, some of

which (i) the Debtor was never compensated for, and/or (ii) were

compensated at less than the contract price for the Covid tests.

          4. Prepetition, Debtor did not believe that it was cost-effective

for it to attempt to collect these Claims, and thus, entered into a

contingency fee agreement in March 2023 prior to the bankruptcy filing

after being contacted by Amy Thomas, Esq. and Only One Hub d/b/a

Primus Health (proposed “Special Counsel”) who indicated that they

believed they would be able to collect the Claims.1 At that time, Debtor




      Debtor will be filing an application with the Court seeking to retain Special
      1


Counsel.


23-43403-mlo    Doc 207   Filed 08/29/23   Entered 08/29/23 10:23:02   Page 2 of 10
had no expectation of any recovery, but because it was being handled on

a contingent fee basis, it felt that it had nothing to lose.

         5. Throughout the case, Debtor has treated the Claims as not

being collectable, and when Schedule G was initially drafted, the

contingency fee contract was inadvertently omitted therefrom. Debtor’s

counsel only became aware of the contingent fee agreement and the

Claims when he was recently contacted by local counsel for Special

Counsel. Debtor’s counsel and local counsel then contacted the Office

of the U.S. Trustee, the Committee, and Auxo, the primary secured

creditor of the Debtor, to inform them of the Potential Recoveries. After

having several discussions with counsel for one large health care payor,

it became apparent that there was at least some significant value to the

Claims, and potentially very great value to those claims in excess of the

$4.0 million amount (an amount that does not appear to be contested as

being owed by that health care payor).

         6. Since the recent discovery of the Potential Recoveries, the

parties in interest have been discussing the matter regarding the most

prudent course of action to take, and believe that informing the Court of

the Potential Recoveries and discussing the matter at a Status




23-43403-mlo   Doc 207   Filed 08/29/23   Entered 08/29/23 10:23:02   Page 3 of 10
Conference would be in all parties’ best interests, as well as in the best

interest of the creditors of the estate. The parties are still trying to

wrap their hands around what the likely recovery will be, how those

monies should be allocated in light of the current posture of the

bankruptcy proceeding and the proposed course of action to be taken in

light of the disclosure of these significant newly discovered assets.

        7. Auxo, Debtor, McLaren, the U.S, Trustee and the Committee

believe that a two week adjournment would make sense to allow the

parties in interest to determine what actions should be taken. In the

meanwhile, the September rent for the real estate lease will have been

paid, and Auxo has committed to pay all budgeted post-petition

expenses. Accordingly, neither the estate nor any of the parties in

interest would be materially prejudiced by a two week adjournment of

the sale hearing.

        8. The Debtor intends to file with the Court a revised budget

running through September 15, 2023. The terms of the Stipulated

Order adjourning the hearing on the Sale Motion and related matters

[ECF No. 180] would remain in effect in the interim as follows:

     Auxo shall fund all unpaid budgeted expenses, from the
     petition date, including during the interim period between


23-43403-mlo   Doc 207   Filed 08/29/23   Entered 08/29/23 10:23:02   Page 4 of 10
     August 3, 2023 and August 25, 2023 (the “Interim Period”)
     pursuant to the terms of a budget to be agreed upon and
     approved by Auxo, the Debtor, the Committee and McLaren no
     later than August 4, 2023 (the “Interim Budget”) and filed with
     the Court. At a minimum, the Interim Budget shall expressly
     provide for and fund the fees of the U.S. Trustee, payroll
     and taxes incurred by the Debtor during the Interim Period,
     the Professional Fee Carve Out, August rent due to Medical
     Real Estate, and all administrative fees to be incurred and
     provided for in the Interim Budget for the Interim Period;
     provided, however, such being without prejudice to the Committee,
     the Debtor, the U.S. Trustee or any party in interest raising issues
     with respect to the failure of Auxo to previously fund, or the
     Debtor’s failure to pay, certain budgeted expenses prior to the
     Interim Period, all of which objections are expressly preserved.
     Entry of this Order does not limit the obligations of any party
     under the Final Cash Collateral Order, including but not limited
     to paragraph 16 of ECF No. 144. (Emphasis added).

         9. The Court has the power to adjourn the current hearings

and to set a status conference under Fed.R.Bankr.P. 9006 and 11 U.S.C.

§ 105.

     WHEREFORE, Debtor respectfully requests entry of the attached

Order setting a status conference in this matter for August 31, 2023 at

11:00 a.m. to consider, among other things, adjourning the hearings on

the Sale Motion, the Assumption Motion and the Rejection Motion to

September 14, 2023, and such other and further relief as is just.




23-43403-mlo   Doc 207   Filed 08/29/23   Entered 08/29/23 10:23:02   Page 5 of 10
                                     Respectfully submitted,

                                    /s/ Robert Bassel
                                    Robert Bassel (P48420)
                                    Counsel for Debtor
                                    PO Box T
                                    Clinton, MI 49236
                                   248.677.1234
                                   bbassel@gmail.com

Dated: August 29, 2023




23-43403-mlo   Doc 207   Filed 08/29/23   Entered 08/29/23 10:23:02   Page 6 of 10
               UNITED STATES BANKRUPTCY COURT
                EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                               Case No. 23-43403-mlo
                                                   Chapter 11
          Debtor.                                  Hon. Maria L. Oxholm
____________________________________/


  ORDER GRANTING EX PARTE MOTION FOR COURT TO
   HOLD STATUS CONFERENCE ON AUGUST 31, 2023, TO
    CONSIDER, AMONG OTHER THINGS, WHETHER TO
ADJOURN SALE RELATED MATTERS TO SEPTEMBER 14, 2023



      Upon the motion (the “Motion”)2 of Debtor, the concurrences of the

U.S. Trustee, Auxo, McLaren and the Committee, and the Court

having determined that the cause exists for the relief granted herein;

      IT IS HEREBY ORDERED THAT:

      1.     The Court shall hold a status conference on August 31, 2023

at 11:00 a.m. to consider, among other things, the adjournment of the

hearings on the Sale Motion [ECF No. 145], the Assumption Motion




      2
      References in this Order to terms not defined in this Order shall have the
meanings set forth in the underlying Motion.


23-43403-mlo    Doc 207   Filed 08/29/23   Entered 08/29/23 10:23:02   Page 7 of 10
[ECF No. 153], and the Rejection Motion [ECF No. 154] from August 31,

2023 at 11:00 a.m. to September 14, 2023 at 11:00 a.m.

     2.    All timely filed objections that are still outstanding as to any

of the above matters are preserved.




23-43403-mlo   Doc 207   Filed 08/29/23   Entered 08/29/23 10:23:02   Page 8 of 10
               UNITED STATES BANKRUPTCY COURT
                EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                              Case No. 23-43403-mlo
                                                  Chapter 11
          Debtor.                                 Hon. Maria L. Oxholm
____________________________________/

                     CERTIFICATE OF SERVICE

     I certify that on August 29, 2023, I served copies as follows:

 Documents               EX PARTE MOTION FOR COURT TO HOLD
 Served:                 STATUS CONFERENCE ON AUGUST 31,
                         2023, TO CONSIDER, AMONG OTHER
                         THINGS, WHETHER AND TO ADJOURN
                         SALE RELATED MATTERS TO SEPTEMBER
                         14, 2023




 Served Upon and         via the ECF noticing system upon counsel of
 Method of Service:      record




23-43403-mlo   Doc 207   Filed 08/29/23   Entered 08/29/23 10:23:02   Page 9 of 10
                                     Respectfully submitted,

                                  /s/ Robert Bassel
                                      Robert Bassel (P48420)
                                      Attorney for Debtor
                                      PO Box T
                                      Clinton, MI 49236
                                     248.677.1234
                                      bbassel@gmail.com
Dated: August 29, 2023




23-43403-mlo   Doc 207   Filed 08/29/23   Entered 08/29/23 10:23:02   Page 10 of 10
